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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES—GENERAL

   Case No.        CV 85-4544-DMG (AGRx)                                            Date       June 28, 2019

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   Present: The Honorable           DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                    KANE TIEN                                                      NOT REPORTED
                    Deputy Clerk                                                    Court Reporter

      Attorneys Present for Plaintiff(s)                                  Attorneys Present for Defendant(s)
               None Present                                                         None Present

   Proceedings: IN CHAMBERS - ORDER RE PLAINTIFFS’ EX PARTE APPLICATION
                FOR A TEMPORARY RESTRAINING ORDER AND AN ORDER TO
                SHOW CAUSE WHY A PRELIMINARY INJUNCTION AND
                CONTEMPT ORDER SHOULD NOT ISSUE [572]

            On June 26, 2019, Plaintiffs filed an Ex Parte Application for a Temporary Restraining
   Order and an Order to Show Cause Why a Preliminary Injunction and Contempt Order Should
   Not Issue (“Ex Parte Application”). [Doc. # 572.] The Ex Parte Application primarily seeks the
   following relief: “(1) an immediate inspection of all [Customs and Border Protection (‘CBP’)
   facilities in the El Paso and Rio Grande Valley Sectors] by a public health expert authorized to
   mandate a remediation plan that Defendants must follow to make these facilities safe and
   sanitary, (2) immediate access to [these facilities] by independent medical professionals
   appointed by Plaintiffs’ class counsel or the Court-appointed [Monitor] who can assess the
   medical needs of the children and triage appropriately, . . . (3) deployment of an intensive case
   management team to focus on expediting the release of Category 1 and Category 2 children (as
   classified in [t]he Trafficking Victims Protection Reauthorization Act) to alleviate the backlog
   caused by the inadequate Office of Refugee [Resettlement] placement array, and (4) for an Order
   finding Defendants in contempt of Court, with a suitable and appropriate remedy to be
   determined by the Court.” See Proposed Order at 4 [Doc. # 572-6].1

           On June 27, 2019, Defendants filed an Opposition, wherein they request: “that the Court
   deny the [request for a temporary restraining order], and set a schedule for briefing these issues
   that provides Defendants with a full and fair opportunity to respond to the allegations that
   Plaintiffs have lodged against them” or “order the parties to engage in an expedited mediation
   process in front of the [Monitor] to address [Plaintiffs’] concerns.” See Opp’n at 5–6 [Doc. #
   574].




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               All page references herein are to page numbers inserted by the CM/ECF system.

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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                      CIVIL MINUTES—GENERAL

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           The Court has already issued several orders that have set forth in detail what it considers
   to be violations of the Flores Agreement. [Doc. ## 177, 189, 363, 470.] Thus, the parties need
   not use divining tools to extrapolate from those orders what does or does not constitute non-
   compliance. The Court has made that clear beyond peradventure.

            The Court is mindful that the emergent nature of Plaintiffs’ allegations demands
   immediate action. The mediation procedures included in the Monitor’s Appointment Order were
   intended to facilitate the expeditious remediation of conditions, such as those presented here,
   threatening the safety and welfare of class members and to avoid the inordinate delay that would
   inevitably result from any protracted litigation regarding the Flores Agreement.2 Indeed,
   although the Court’s July 24, 2015 and June 27, 2017 Orders found that CBP had committed
   multiple breaches of the Flores Agreement, Plaintiffs claim that CBP has continued to commit
   many of the same violations years later. See, e.g., July 24, 2015 Order at 16–18 (finding
   widespread and deplorable conditions in holding cells of CPB stations) [Doc. # 177]; June 27,
   2017 Order at 12–15 (finding the presence of unsanitary conditions at certain CBP facilities in
   the Rio Grande Valley Sector) [Doc. # 363]; Pls.’ Mem. of P. & A. at 12–14 (asserting that CBP
   facilities in the Rio Grande Valley and El Paso Sectors are not sanitary) [Doc. # 572-1]. While
   the Court is aware that the sudden influx of migrants presents special challenges and that the
   facilities’ conditions are not static, the Flores Agreement, executed in 1997, contemplated such
   circumstances and charged Defendants with the task of preparing a “written plan that describes
   the reasonable efforts that it will take to place all minors as expeditiously as possible.” Flores
   Agreement, Paragraph 12.C. If 22 years has not been sufficient time for Defendants to refine
   that plan in a manner consistent with their “concern for the particular vulnerability of minors”
   and their obligation to maintain facilities that are consistently “safe and sanitary,” it is imperative
   that they develop such a comprehensive plan forthwith. Id. at Paragraph 12.A.
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               The Ex Parte Application misleadingly asserts that although “Plaintiffs’ counsel served a formal Notice of
   Non-Compliance . . . on Defendants and the Monitor pursuant to Section D.3 [of the Appointment Order,] . . . . [t]o
   date, the Monitor has not taken any action to expedite resolution of this dispute which is endangering the health and
   welfare of children, including infants, at the CBP facilities.” See Ex Parte Appl. at 5 [Doc. # 572]. Plaintiffs’
   attorneys are fully aware that the Monitor has actively and effectively engaged with the parties, the Juvenile
   Coordinators, and with this Court to establish and facilitate an expeditious process for the resolution of myriad
   disputes that have arisen since her appointment. Henceforth, Plaintiffs’ counsel shall refrain from making any such
   veiled ad hominem attacks against the Monitor. The Court reminds the parties that the Monitor is a duly appointed
   officer of this Court. See Fed. R. Civ. P. 53(a)(1).

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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

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           Therefore, pursuant to Paragraph D.3 of the Appointment Order and in accordance with
   Defendants’ request, the Court REFERS Plaintiffs’ Ex Parte Application to expedited mediation
   before the Monitor. In light of the evidence presented, the Court waives the time periods set
   forth in Section D.3. The Monitor may, in her discretion, set other deadlines and take other
   measures appropriate to facilitate the prompt remediation of the conditions at issue, including the
   retention of an independent public health expert. By July 12, 2019, the parties shall file a joint
   status report regarding their mediation efforts and what has been done to address post haste the
   conditions described in the Ex Parte Application. The parties shall participate in the mediation
   process in good faith. Pending the parties’ mediation, the Court holds the Ex Parte Application
   in abeyance.

   IT IS SO ORDERED.




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